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IN THE UNITED sTATEs DISTRICT coURT mm MuQ&-~ D~°'
FoR THE wEsTERN DISTRIcT oF TENNESSEE
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MARIssA MILLER, A Minor, ny WNCWTHMRWMS

and Through Her Mother and
Next Friend, MIRANDA MILLER,

Plaintiffs,

No. 03-2701 Ml/v
JoHN nAcUs, M.D.,

Defendant.

 

ORDER GRANTING PLAINTIFF'S MOTION TO APPEAL ORDER ASSESSING COSTS
AND DENYING AWDRD OF COSTS TO DEFENDANT JOHN DACUS, M.D.

 

Before the Court is Plaintiff’s Motion to Appeal Order
Assessing Costs, filed May 31, 2005. Defendant filed an
opposition to Plaintiff's motion on June 21, 2005. For the
following reasons, Plaintiff's motion is GRANTED and the order of
the Clerk of Court assessing costs against Plaintiff is VACATED.
I. BACKGROUND

The instant case was a medical malpractice action brought by
Plaintiff Marissa Miller, by and through her mother and next
friend Miranda Miller, against Defendant Dr. John Dacus.
Plaintiff's claims arose from events that occurred during her
birth and delivery between September 2 and September 4, 1993. A

trial was held in this case beginning on April l, 2005, and

This document entered on the docket sheet fn compliance
with Hu¥e 58 and/or 79(a) FHCP on ' ’ 5

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ending on April 8, 2005. On April 8, 2005r the Jury rendered a
verdict in favor of Defendant on all of Plaintiff's claims.

On May il, 2005, Defendant filed a bill of costs pursuant to
Federal Rule of Civil Procedure 54(d)1 and 28 U.S.C. § 19202
totaling $31,454.47 for process service fees, court reporter
fees, the cost of deposition transcriptions, witness fees and
printing and copy costs. Pursuant to Local Rule 54.l(b), the
Clerk of Court gave notice of the request for costs to the
parties and afforded the parties an opportunity to be heard at a

May 20, 2005, taxation hearing regarding the assessment of costs.

 

1 Rule 54(d)(1) provides that “costs other than attorneys’
fees shall be allowed as of course to the prevailing party unless
the court otherwise directs ....” Fed. R. Civ. P. 54(d}(1).

2 28 U.S.C. § 1920 provides:

A judge or clerk of any court of the United States may
tax as costs the following:
(1) Fees of the clerk and marshal;
(2) Fees of the court reporter for all or any part
of the stenographic transcript necessarily
obtained for use in the case;
(3) Fees and disbursements for printing and
witnesses;
(4) Fees for exemplification and copies of papers
necessarily obtained for use in the case;
(5) Docket fees under section 1923 of this title;
(6) Compensation of court appointed experts,
compensation of interpreters, and salaries, fees,
expenses, and costs of special interpretation
services under section 1828 of this title.

A bill of costs shall be filed in the case and,
upon allowance, included in the judgment or
decree.

28 U.S.C. § 1920.

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0n May 24, 2005, the Clerk of Court issued an order taxing costs
in the amount of $26,368.61 against Plaintiff. (Order on Taxation
of Costs, May 24, 2005 (Docket No. 318).)

II . ANALYSIS

Plaintiff appeals the Clerk's Order because she is indigent
and therefore cannot afford to pay Defendant’s costs, the case
was close and difficult, and because Plaintiff brought her case
in good faith. Plaintiff also contends that no costs should be
assessed against her mother, Miranda Miller. Defendant maintains
that the Clerk's award of costs was proper and that costs should
either be assessed against Plaintiff or her mother.

Rule 54 provides that “costs other than attorneys' fees
shall be allowed as of course to the prevailing party unless the
court otherwise directs ....” Fed. R. Civ. P. 54(d)(l). Rule 54
raises “a presumption in favor of awarding costs, but allows
denial of costs at the discretion of the trial court.” McDonald
v. Petree, 409 F.3d 724, 731 (6th Cir. 2005)(quoting Hhite_g
White, Inc. v. Am. Hosp. Supplv Corp., 786 F.2d 728, 730 (6th
Cir. 1986)}.

In Hhite, the Sixth Circuit identified three categories of
factors that district courts should consider in exercising their
discretion to award costs pursuant to Rule 54. First, there is a
category of factors for which the denial of costs is not an abuse

of discretion - namely, when taxable expenditures by the

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prevailing party are unreasonably large, when the prevailing
party should be penalized for unnecessarily prolonging trial or
injecting unmeritorious issues, when the prevailing party's
recovery is so insignificant that the judgment amounts to a
victory for the other party, or when the case is “close and
difficult.” White, 786 F.Zd at 730 (citations omitted). On the
other hand, it is an abuse of discretion to consider certain
factors in exercising a Court's discretion regarding an award of
costs - in particular, the size of a successful litigants's
recovery and the ability of the prevailing party to pay his or
her own costs. §§4 (citations omitted). Finally, certain
factors may be considered by the Court but, in the absence of
other relevant factors, do not warrant an exercise of the Court’s
discretion to deny costs pursuant to Rule 54(d)(1) -
specifically, the good faith a losing party demonstrated in
filing, prosecuting or defending an action and the propriety with
which the losing party conducts the litigation. lg; (citations
omitted). “[A]nother factor weighing in favor of denying costs

is the indigency of the losing party.” Singleton v. Smith, 241

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F.3d 534, 539 (6th Cir. 2001)(citing Jones v. Continental Corp.,
789 F.Zd 1225, 1233 (6th Cir. 1986)3)F

On the basis of the entire record and the parties’
submissions, the Court exercises its discretion to deny an award
of costs to Defendant because the instant case was both close and
difficult and, importantly, because Plaintiff has proven that she
is indigent and therefore unable to pay an award of costs. The
Court also notes that Plaintiff has at all times conducted her
litigation with propriety and in good faith.

A. Closeness and Difficulty of the Case

“The closeness of a case is judged not by whether one party
clearly prevails over another, but by the refinement of
perception required to recognize, sift through and organize
relevant evidence, and by the difficulty of discerning the law of

the case.” White, 786 F.2d at 732~33. “A case may be

 

characterized as difficult based upon the length of trial, the
number of witnesses, and the amount of evidence submitted to the

jury.” McHugh v. Olvmpia Entertainment, Inc., Nos. 00-1956, 00-

 

3 The Jones Court noted that the Seventh Circuit, in Badillo
v. Central Steel & Wire Co., 717 F.Zd 1160, 1165 (7th Cir.1983),
recognized that refusal to tax costs against an indigent
plaintiff is a permissible exercise of discretion by the district
court. Jones, 789 F.2d at 1233.

4 Although the Court in White did not indicate into which
Category indigency would fall, the Court finds that it is a
factor that the Court may consider but that does not, without
more, justify the denial of an award of costs.

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2195, 00-2234, 37 Fed.Appx. 730, 743, 2002 WL 1065948, *12 (6th

Cir. May 28, 2002)(citing White, 786 F.2d at 732).

 

Having reviewed the entire record, the Court finds that the
instant case was both close and difficult. Plaintiff's claims of
medical malpractice against the Defendant required counsel to
research and analyze a period of labor that spanned several days
and involved many different medical personnel, witnesses, and
voluminous medical records and other documentation. The nature
of the proceeding meant that both parties were required to
consult with, prepare and examine numerous expert witnesses.
Additionally, while the basic tenets of medical malpractice law
in Tennessee are well settled, this case presented several issues
~ including, inter alia, the purported existence of a cause of
action on behalf of a fetus for failure of informed consent and
the necessity for and proper form Of a qualified protective order
regarding information requested by the Defendant - that required
significant research, briefing and argument from the parties.

The parties engaged in extensive motion practice regarding
dispositive and non-dispositive issues, and many of the Court's
rulings were met with motions to reconsider based upon the
relative novelty or complexity of the issues involved.

Furthermore, Defendant’s motion for a directed verdict at
the close of evidence in the case was granted only as to one

issue in the case, and Plaintiff’s remaining claims were

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submitted to the Jury for a verdict. Plaintiff’s claims were
supported by evidence in the record and a reasonable Juror could
have found in her favor. The mere fact that the Jury returned a
verdict for Defendant does not indicate that the case was not
closely contested. Accordingly, on the basis of the Court's
finding that this case was both close and difficult, the Court
further finds that no award of costs to Defendant is justified.

B. Plaintiff's Indigency

The Court's conclusion is further supported by the fact that
the Court finds Plaintiff to be indigent and therefore unable to
pay the costs taxed by the Clerk of Court. When a claim of
indigency is made by a party, the Court must determine the
party's capacity to pay the costs assessed. Sales v. Marshall,
873 F.2d 115, 120 (6th Cir. 1989). A party is indigent if the
party “is incapable of paying the court~imposed costs at this
time or in the future.” Tugqles v. LeroV-Somer, Inc., 328
F.Supp.2d 840, 845 (W.D. Tenn. 2004)(citing McGill v. T_~"aul]tner,r
18 F.3d 45, 459 (7th Cir. 1994)). “The size of the award and the
circumstances in which it will ultimately be applied should be
equitable factors in evaluating the effect of indigency.”
Singleton, 241 F.3d at 540 (citations omitted).

Plaintiff is a twelve year-old child with permanent brain
damage resulting from a deprivation of oxygen during her birth.

There exists ample evidence in the trial record to show that

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Plaintiff is permanently disabled and that she will not be able
to obtain any form of gainful employment during her lifetime.
Her only income is approximately $500.00 in monthly Social
Security benefits, (see Aff. of Miranda Miller, May 18, 2005
{Docket No. 317) I 4.), which are exempt from execution, levy,
garnishment, or other legal process. §ee 42 U.S.C. § 407(a).
Plaintiff’s only assets include her clothing, a wheelchair and a
vocalizing machine that she uses to communicate. (See Miller Aff.
I 5.) The Court therefore finds that Plaintiff does not have the
capacity to pay the costs assessed, either at this time or in the
future. v

Defendant contends that, in the alternative, costs should be
taxed against Plaintiff’s mother, Miranda Miller. However,
Miranda Miller sued only in a representative capacity as the next
friend of the Plaintiff. A minor is the real party in interest
in a suit brought by a next friend. Helminski v. Averst Labs.,
766 F.2d 208, 213 (6th Cir. 1985); see also Fed. R. Civ. P. 17.
Miranda Miller has therefore not asserted any claim in this case.
Accordingly, the Court declines to tax costs against Miranda
Miller.

C. Plaintiff's Good Faith

Moreover, the Court finds that Plaintiff demonstrated good
faith in filing and prosecuting this case and that she conducted

the litigation with propriety. As noted, the case was both close

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and difficult, involving several years of discovery and
substantial motion practice. Throughout this litigation,
Plaintiff, through her counsel, zealously argued her position
well within the bounds of ethics and good faith.
IV. CONCLUSION

For the reasons stated, the Court finds that no costs should
be taxed against Plaintiff. Accordingly, Plaintiff's motion to
appeal the order of the Clerk of Court taxing costs is GRANTED

and the Clerk’s order taxing costs is VACATED.

SO ORDERED this ’T day of July, 2005.

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JO P. MCCALLA
U TED STATES DISTRICT JUDGE

 

   

UNITE STTS DSTRIC COURT - WESENTR DI"IR T oF TENNESSEE

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Honorable J on McCalla
US DISTRICT COURT

